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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                     11/2/2020
IN THE MATTER OF THE COMPLAINT                                         :
                                                                       :
                  of                                                   :
                                                                       :     18-CV-3582 (JPC)
MILLER’S LAUNCH, INC. and MILLER’S TUG AND :
BARGE, INC.                                                            :           ORDER
As Owners or Owners Pro Hac Vice of a 1981 64.7 foot :
Towing vessel “CATHERINE C. MILLER” for :
Exoneration from Or Limitation of Liability,                           :
                                                                       :
                                    Petitioners.                       :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

         On September 16, 2019, the Hon. Valerie Caproni ordered the parties to submit an annual

update as to the progress of the state litigation for which this case is stayed on the first business day

of every October, starting October 1, 2020, until the conclusion of the state court proceedings. (Dkt.

38.) The parties failed to submit this update to the Court. Following this case’s reassignment, and

on October 15, 2020, the Court ordered the parties to submit a joint letter updating the Court on the

status of the case by October 29, 2020. (Dkt. 42.) The parties also failed to submit this letter to the

Court.

         Within one week of the filing of this Order, it is hereby ORDERED that either (1) the parties

must file on ECF the joint letter described in Dkt. 42 or (2) each party must submit a letter, of no

more than five pages, showing cause why sanctions should not be imposed in light of the parties’

failure to comply with the Court’s Orders of September 16, 2019 and October 15, 2020, particularly

in light of Judge Caproni’s September 23, 2019 Order declining at that time to sanction counsel for

Claimants, but reminding counsel to be observant of the Court’s orders. (Dkt. 41.)

         SO ORDERED.
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Dated: November 2, 2020                   __________________________________
       New York, New York                          JOHN P. CRONAN
                                                 United States District Judge




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